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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No.: 16-cv-01773-RPM

MARGARITO GONZALEZ,

              Plaintiff,
v.

JAMES OLLIGES and MY MORNING JACKET TOURS, INC.

              Defendants.

               STIPULATED MOTION FOR DISMISSAL WITH PREJUDICE


       Defendants James Olliges and My Morning Jacket Tours, Inc., and Plaintiff Margarito

Gonzalez, by and through counsel, and pursuant to Fed. R. Civ. P. 41(a), hereby stipulate to the

dismissal of the above-captioned action, WITH PREJUDICE, each party to bear its own costs

and fees.

       Respectfully submitted this 16th day of June, 2017.




s/ Robert D. Wilhite                                s/ James A. Johnson
Robert D. Wilhite                                   James D. Johnson
Sawaya, Rose, McClure & Wilhite                     Godfrey Johnson, P.C.
1600 Ogden Street                                   9557 S. Kingston Court
Denver, Colorado 80218                              Englewood, CO 80112
Attorneys for Plaintiff                             Attorneys for Defendants
